
SALCINES, Judge.
Kessington Nwajei appeals the summary dismissal of his motion to vacate judgment that was treated as a postconviction motion filed pursuant to Florida Rule of Criminal Procedure 3.850. We affirm the dismissal because the motion did not include an oath as required by rule 3.850(c). See also Fla. R.Crim. P. 3.987 (providing two forms of the oath for use in rule 3.850 motions). This affirmance is without prejudice to Nwajei’s right to refile a properly sworn motion within the time remaining *888under rule 3.850(b). Any such motion shall not be deemed successive.
Affirmed.
CASANUEVA and STRINGER, JJ., Concur.
